Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 1 of 189




                                               EXHIBIT C
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 2 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 3 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 4 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 5 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 6 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 7 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 8 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 9 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 10 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 11 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 12 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 13 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 14 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 15 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 16 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 17 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 18 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 19 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 20 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 21 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 22 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 23 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 24 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 25 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 26 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 27 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 28 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 29 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 30 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 31 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 32 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 33 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 34 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 35 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 36 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 37 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 38 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 39 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 40 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 41 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 42 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 43 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 44 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 45 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 46 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 47 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 48 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 49 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 50 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 51 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 52 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 53 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 54 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 55 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 56 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 57 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 58 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 59 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 60 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 61 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 62 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 63 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 64 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 65 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 66 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 67 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 68 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 69 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 70 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 71 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 72 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 73 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 74 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 75 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 76 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 77 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 78 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 79 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 80 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 81 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 82 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 83 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 84 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 85 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 86 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 87 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 88 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 89 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 90 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 91 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 92 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 93 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 94 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 95 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 96 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 97 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 98 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 99 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 100 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 101 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 102 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 103 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 104 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 105 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 106 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 107 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 108 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 109 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 110 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 111 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 112 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 113 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 114 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 115 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 116 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 117 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 118 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 119 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 120 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 121 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 122 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 123 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 124 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 125 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 126 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 127 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 128 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 129 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 130 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 131 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 132 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 133 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 134 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 135 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 136 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 137 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 138 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 139 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 140 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 141 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 142 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 143 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 144 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 145 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 146 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 147 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 148 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 149 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 150 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 151 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 152 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 153 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 154 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 155 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 156 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 157 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 158 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 159 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 160 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 161 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 162 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 163 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 164 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 165 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 166 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 167 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 168 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 169 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 170 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 171 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 172 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 173 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 174 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 175 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 176 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 177 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 178 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 179 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 180 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 181 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 182 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 183 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 184 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 185 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 186 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 187 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 188 of 189
Case 8:19-cv-00793-TDC Document 1-4 Filed 03/15/19 Page 189 of 189
